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school without the Father’s express consent.

42. The Mother managed to circumvent that provision in a way not expected by the Father when
he made the agreement. The Mother now speaks exclusive in French to the child, even in the presence of
the father who does not speak French. When the child replies in English, the mother explodes in anger, and
hangs up. The Mother has prohibited Eva from speaking Spanish, has not let her continue taking Spanish
lessons in school. In fact, the mother refuses to take Eva to academic tutoring but has Eva with a French
tutor and in drama classes. Eva can no longer speak Spanish and is rapidly losing her grasp on the
language. There is no reason Eva should be denied the right to continue to learn Spanish, and it is obvious
that the Mother has changed Eva’s second language for the sole purpose of undercutting the bond once
shared between Eva and her father.

43. Eva has expressed her desire to be allowed to speak with her Father without interference and
to spent more time with her father. Eva has expressed her sense of sadness with her regular week-long total
separations from the father, and her fear of becoming close to the father during the short times she is with
him because they are followed by the week-long separation. Eva has explained to the father that she keeps
herself emotionally distant to manage the sadness and loss she feels when she is separated from her father.

44. When Eva is picked up by her father, she is often withdrawn and sullen initially. It often
takes a full day for her to warm up. While the father initially believed that Eva’s reaction was due to her
adjusting to her parent’s divorce, it is becoming apparent to the Father that Eva’s reactions are the result of
her Mother’s interference.

45. The Mother has engaged in other attempts to undermine Eva's relationship with her father.
She has placed the maternal grandmother in the role of co-custodian who joins the Mother in portraying the
Father as a person the mother need to be protected from.

46. | The mother has exercised her vacation time in excess of accordance with the custody

agreement interfering with the Father’s access, and has failed to provide me with an itinerary at all or at the
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last minute or allow Eva to contact the Father when she is on vacation. The Mother has taken-Eva overseas
to Italy, Mexico, and St. Marteens without providing the ordered information or access. If something
happened to Eva while on vacation, it would be very difficult if not impossible for the Father to help her
due to the Mother’s actions.
Modification

47. Because of this change of circumstances, judgment should be modified as follows: The father
should be awarded sole legal and residential custody. In the alternative, the sole decision making should be
split with the father being awarded final decision making over religious and educational matters, or such
other and further custodial arrangement that is in the child’s best interests including a return to the 50-50
shared residential custody.

48. No previous application has been made to any Court or judge for the relief requested in this
Petition except for the original Custody modification petition which this petition replaces, and a family

offense petition that was intended to be an enforcement petition which was withdrawn without prejudice.

WHEREFORE, Petitioner respectfully requests that the judgment Supreme Court dated
, be modified as set forth above and for such other relief as the Court may deem just and proper.

Dated: NM oe Te fo New York
April 76. 2014 of

Manuel P. Asensio

Petitioner

 

J. Douglas Barics
Attorney for Petitioner
1399 Franklin Avenue
Suite 202

Garden City, NY 11530
(516) 742-2600
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STATE OF NEW YORK )

: )
COUNTY OF NEW YORK )

VERIFICATION

Manuel P. Asensio, being duly sworn, says that he is the Petitioner in the above-named proceeding and that the
foregoing petition is true to his own knowledge, except as to matters therein stated to be alleged on information and

belief and as to those matters he believes it to be true.

7
Sworn to before me this SG
day of April, 20147

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Notary Public

JONATHAN A GOMEZ
Notary Public - Stete of New York
Ne. 01606285663
Qualified in Bronx County
My Commission Expires .lan. 06, 2078

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Manuel P. Asensio
Petitioner
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EXHIBIT 4
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1. Plaintiff smoking what appears to be a marijuana cigarette lighted by an
unseen male

Login with Instagram »

 
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2. Plantifs Partner, Stefano Chitis.

 
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3. Plaintiff's own inappropriate content on the internet and the Plaintiff s
blatant, brazen exhibitionism, demonstrated by her posting of lewd,
lascivious and immoral photographs and videos on the internet.

EMILIE BOSAK

 

  

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